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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

JOHNSON & JOHNSON, et al.,

           Plaintiffs,

v.                                      Case No.:8:19-cv-1673-AEP

                                        FILED UNDER SEAL PURSUANT TO
                                        THE COURT’S ORDER (DOC. 97)
XS SUPPLY, LLC, et al.,

           Defendants.
                               /

                             MEDIATION REPORT

     In accordance with the Court’s mediation order, a video mediation
conference was held on June 1, 2020.    Plaintiffs’ corporate
representatives and trial counsel, XS Defendants’ corporate
representative with Defendants Bird, Berger, Rodimushkin, Longdue and
Thomas and their trial counsel, and Lion Heart Defendants’ corporate
representatives/Defendants Conde and Nascimento and their insurance
representatives and trial counsel attended and participated.
     The parties have reached an impasse.
     Done June 2, 2020 in Tampa, Florida.
                                   Respectfully submitted,


                                   /s/ Peter J. Grilli
                                   Peter J. Grilli, Esq.
                                   Florida Bar No. 237851
                                   Mediator
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     I HEREBY CERTIFY that June 2, 2020 I submitted the foregoing
document in accordance with Judge Porcelli’s filing instructions.


                                        /s/ Peter J. Grilli
                                        Peter J. Grilli, Esq.
